                                                                                                       Electronically Filed - St Louis County - March 25, 2021 - 12:06 PM
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                                                                               21SL-CC01338

               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                          STATE OF MISSOURI

JANEAN HUGHES,                                    )
                                                  )
Plaintiff,                                        )
                                                  )
v.                                                )   Case No.
                                                  )
I.C. SYSTEM, INC.,                                )
Serve R/AGT: C T Corporation System               )
             120 South Central Ave.               )
              Clayton, MO 63105                   )
                                                  )
Defendant.                                        )

                        INTRA-STATE CLASS ACTION PETITION

         COMES NOW Plaintiff Janean Hughes, by and through her undersigned counsel, and

asserts this intra-state class action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

et seq. (“FDCPA”), against I.C. System, Inc. and in support thereof states the following:

                          PARTIES, JURISDICTION, AND VENUE

         1.    Plaintiff Janean Hughes is an individual person currently residing in St. Louis

County, Missouri.

         2.    Defendant I.C. System, Inc. is a foreign corporation registered with the Missouri

Secretary of State.

         3.    Defendant’s conduct satisfies Missouri’s long-arm statute, section 506.500

R.S.Mo., in that it has transacted business in the State of Missouri, made a contract in the State

of Missouri, and/or committed a tortious act in the State of Missouri.

         4.    Defendant has sufficient minimum contacts with Missouri such that asserting

personal jurisdiction over Defendant comports with due process.




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       5.       Defendant’s principal business purpose is the collection of consumer debts using

the mails and other instrumentalities of interstate commerce.

       6.       Defendant regularly collects, or attempts to collect, debts owed or due or asserted

to be owed or due another.

       7.       This Court has jurisdiction over the subject matter of this civil suit pursuant to the

Missouri Constitution. MO. CONST. Art. V § 14.

       8.       This Court has statutory authority to grant the relief requested herein pursuant to

15 U.S.C. § 1692k(d).

       9.       Venue is appropriate because Defendant’s conduct was directed at Plaintiff in St.

Louis County.

                                              FACTS

       10.      On January 8, 2021, Plaintiff received a letter from Defendant that represented

Plaintiff owed the principal amount of $867.43 plus a $71.80 “collection charge” relating to a T

Mobile USA Inc. account.

       11.      The January 8, 2021 letter offered to “settle your account for $516.58.”

       12.      Any person, much less an unsophisticated, would understand the term “settle” to

mean an agreement to resolve the account.

       13.      However, the January 8, 2021 letter also stated that “[i]f your account is settled

for less than the full original balance it will cause future collection efforts to cease. A residual

balance will remain with T Mobile USA Inc.” (emphasis added).

       14.      The letter did not state the amount of the “original balance.”




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       15.     From the face of the letter, it was unclear as to whether the “original balance” was

the same as the principal balance of $867.43, whether it included the “collection charge” of

$71.80, or whether it referred to some other amount.

       16.     Therefore, even if an unsophisticated consumer could somehow decipher the fact

that the “settlement” payment would not, in fact, settle the account despite its misleading label, it

was still unclear as to what the “residual balance” would be upon payment of the settlement

amount.

       17.     The January 8, 2021 letter was the first communication from Defendant regarding

the alleged debt.

       18.     Plaintiff disputed the debt and asked for verification by certified letter mailed to

Defendant on February 5, 2021.

       19.     On or about March 9, 2021, Plaintiff received a letter from Defendant dated

February 26, 2021, along with a single attachment purporting to be a monthly statement from T

Mobile for the period ending January 18, 2021.

       20.     The monthly statement could not verify the debt, in that the “bill close date” of

January 18, 2021, and the payment due by date of February 11, 2021, were both after the initial

collection letter from Defendant dated January 8, 2021.

       21.     The monthly statement does not mention, much less verify, the principal amount

of $867.43.

       22.     The monthly statement does not mention, much less verify, the $71.80 “collection

charge.”




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       23.     The monthly statement includes the clause that it “has been revised to include

charges which were not reflected on your bill dated 12/19/20,” but does not elucidate the way(s)

in which the charges were revised.

       24.     Upon information and belief, the monthly statement was not created by T Mobile

USA Inc.

       25.     Although the monthly statement shows Plaintiff’s name and address below a

“manifest line,” the monthly statement had never been mailed to Plaintiff.

       26.     Defendant’s collection conduct as recited herein caused Plaintiff a concrete injury

by misleading her and not honoring her dispute rights, which impaired her ability to decide how

to handle the alleged debt and how to respond to Defendant’s offer to settle for less than the total

balance owed, and created a risk of harm that she would pay an improper amount of a debt.

       27.     Defendant’s unlawful collection attempts caused Plaintiff to suffer statutory

damages under 15 U.S.C. § 1692k in the amount of $1,000.00, plus actual damages for anxiety,

frustration, and worry.

                                     CLASS ALLEGATIONS

       28.     It is Defendant’s routine practice to violate the FDCPA by sending misleading

collection letters that include an offer to “settle” an account that nevertheless leaves a residual

balance owing.

       29.     This action is properly maintainable as a class action pursuant to Rule 52.08 of

the Missouri Supreme Court Rules. The class consists of the following persons: All persons

Defendant has on record as owing a consumer debt (1) where Defendant sent a collection letter

to such person to collect a consumer debt; (2) where such person possessed a postal address in

the State of Missouri, (3) during the one-year period prior to the filing of Plaintiff’s Petition, and




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(4) which includes the language both offering to “settle your account” and “A residual balance

will remain.”

        30.     Members of the class are so numerous that joinder is impracticable. Based on

Plaintiff’s research of complaints from other consumers, Defendant is a high-volume debt

collector that attempts to collect hundreds of debts in Missouri.

        31.     Upon information and belief, Defendant has engaged in the improper collection

tactic described above with at least one hundred Missouri consumers.

        32.     Plaintiff is a member of the class she seeks to represent.

        33.     There are no unique defenses Defendant can assert against Plaintiff individually,

as distinguished from the class.

        34.     Plaintiff will assure the adequate representation of all members of the class and

will have no conflict with class members in the maintenance of this action.

        35.     Plaintiff’s interests in this action are typical of the class and are antagonistic to the

interests of Defendant.

        36.     Plaintiff has no interest or relationship with Defendant that would prevent her

from litigating this matter fully.

        37.     Plaintiff is aware that settlement of a class action is subject to court approval, and

she will vigorously pursue the class claims throughout the course of this action.

        38.     A class action will provide a fair and efficient method to adjudicate this

controversy since the claims of the class members are virtually identical in that they raise the

same questions of law and involve the same methods of collection by Defendant.

        39.     Most, if not all, of the facts needed to determine liability and damages are

obtainable from Defendant’s records.




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          40.   The purposes of the FDCPA will be best effectuated by a class action.

          41.   A class action is superior to other methods for the fair and efficient adjudication

of this controversy.

          42.   Furthermore, as damages suffered by most members of the class are relatively

small in relation to the costs, expense, and burden of litigation, it would be difficult for members

of the class individually to redress the wrongs done to them.

          43.   Many, if not all, class members are unaware that claims exist against Defendant.

          44.   There will be no unusual difficulty in the management of this action as a class

action.

          45.   Four common questions of law and fact predominate over all individual questions

of the class. The common questions are whether: (1) Defendant is a “debt collector” pursuant to

the FDCPA; (2) the liabilities that Defendant sought to collect from class members constitute

“consumer debt” under the FDCPA; (3) Defendant sent collection letters to the class that offered

to “settle” an account, and (4) a residual balance would remain even where consumers paid the

settlement amount .

          46.   Because many class members are unaware of their claims and because their

claims are small in relation to the cost of an individual suit, a class action is the only proceeding

in which class members can, as a practical matter, recover.

          47.   Plaintiff and Plaintiff’s counsel have the necessary financial resources to

adequately and vigorously litigate this class action. Plaintiff’s counsel will fairly and adequately

represent and protect the interests of the class.

          48.   All class members have been damaged in precisely the same fashion, by precisely

the same conduct.




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       49.      The loss suffered by individual class members is calculable and ascertainable.

   COUNT I: VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

       50.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       51.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3).

       52.      Defendant is a “debt collector” as defined in 15 U.S.C. § 1692a(6).

       53.      The alleged debt Plaintiff owes arises out of consumer, family, and household

transactions.

       54.       In its attempt to collect the alleged debt from Plaintiff and the class members,

Defendant has committed violations of the FDCPA, 15 U.S.C. § 1692 et. seq., including, but not

limited to, the following:

             a. Falsely representing the amount and character of the alleged debt within the

                collection case, in violation of 15 U.S.C. § 1962e(2)(A);

             b. Taking action that cannot be legally taken, in violation of 15 U.S.C. § 1692e(5);

             c. Using deceptive means to collect a debt, in violation of 15 U.S.C. § 1692e(10);

             d. Using unfair collection practices in violation of 15 U.S.C. § 1692f(1); and

             e. Failing to obtain verification of the allegd debt, in violation of 15 U.S.C. §

                1692g(b).

       WHEREFORE, Plaintiff, individually, and on behalf of each member of the proposed

Class, prays the Court grant the following relief:

       (a)      Enter an order certifying this action as a class action and appointing Plaintiff as

the class representative;

       (b)      Enter an order appointing Bryan E. Brody and Alexander J. Cornwell of Brody &

Cornwell, LLC as class counsel;




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       (c)     Enter judgment in favor of Plaintiff and the Class members for statutory damages

that will fairly and justly compensate Plaintiff and the Class members;

       (e)     Enter judgment awarding class counsel costs and reasonable attorney’s fees, and

all expenses of this action to be paid by Defendant, and to require Defendant to pay the costs and

expenses of class notice and administration;

       (f)     In the event no Class is certified, enter judgment in each Plaintiff’s favor for all

damages that will fairly and justly compensate Plaintiff, plus her attorney’s fees and costs; and

       (g) for such other relief as the Court may deem just and proper.




                                                     Respectfully submitted,

                                                     BRODY & CORNWELL



                                                     _________________________________
                                                     Bryan E. Brody, Mo. Bar No. 57580
                                                     Alexander J. Cornwell, Mo. Bar No. 64793
                                                     7730 Carondelet Avenue, Suite 135
                                                     Clayton, MO 63105
                                                     (314) 932-1068
                                                     Fax: (314) 228-0338
                                                     BBrody@BrodyandCornwell.com
                                                     ACornwell@BrodyandCornwell.com
                                                     Attorneys for Plaintiff




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                                                                                                       21SL-CC01338
In the
CIRCUIT COURT                                                                                        ┌
                                                                                                             For File Stamp Only
                                                                                                                                     ┐
Of St. Louis County, Missouri
                                                            _________________________
__________________________________________
 JANEAN HUGHES                                              Date
Plaintiff/Petitioner
                                                            _________________________
                                                            Case Number
vs.
                                                            _________________________
__________________________________________
 I. C. SYSTEM, INC.                                         Division
Defendant/Respondent
                                                                                                     └                               ┘

                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   PLAINTIFF JANEAN HUGHES                                 pursuant
                                                   Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Marybeth Rice, Richard A Raymond, Gary Tillman 1528 S. Big Bend Blvd. Richmond Heights, MO 63117 314-918-0448
        Name of Process Server                             Address                                                       Telephone

        ___________________________________________________________________________
         Kathleen Landgon, Martin Hueckel, Darren Thebeau, 1528 S. Big Bend Blvd. Richmond Heights, MO 63117 314-644-3955
        Name of Process Server                             Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
         Pat Medley, Kim Rice, Lawrence G Roth, Richard Hopson 1528 S. Big Bend Blvd. Richmond Heights, MO 63117 314-644-3955
        Name of Process Server                             Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                           SERVE:
        ____________________________________________
         I.C. SYSTEMS, INC.                                              ____________________________________________
        Name                                                             Name
        ____________________________________________
         C/O C T CORPORATION SYSTEM                                      ____________________________________________
        Address                                                          Address
        ____________________________________________
          120 SOUTH CENTRAL AVE., CLAYTON MO 63105                       ____________________________________________
        City/State/Zip                                                   City/State/Zip

        SERVE:                                                           SERVE:
        ____________________________________________                     ____________________________________________
        Name                                                             Name
        ____________________________________________                     ____________________________________________
        Address                                                          Address
        ____________________________________________                     ____________________________________________
        City/State/Zip                                                   City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                     /S/ BRYAN E. BRODY
                                                                         ___________________________________________
                                                                         Signature of Attorney/Plaintiff/Petitioner
                                                                         ___________________________________________
                                                                          57580
        By ________________________________________                      Bar No.
            Deputy Clerk                                                 ___________________________________________
                                                                          7730 CARONDELET AVE. SUITE 135, CLAYTON MO 63105
                                                                         Address
        ___________________________________________                      ___________________________________________
                                                                          (314) 932-1068                    (314) 228-0388
        Date                                                             Phone No.                                     Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - March 25, 2021 - 12:06 PM
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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
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              IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC01338
 DEAN PAUL WALDEMER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 JANEAN HUGHES                                                  BRYAN ETHAN BRODY
                                                                7730 CARONDELET AVE.
                                                                SUITE 135
                                                         vs.    ST. LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 I.C. SYSYEM, INC.                                              ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Contract-Other                                              CLAYTON, MO 63105
                                                                                                                                      (Date File Stamp)

                                                             Summons in Civil Case
     The State of Missouri to: I.C. SYSYEM, INC.
                                     Alias:
  C/O C T CORPORATION SYSTEM
  120 SOUTH CENTRAL AVE.
  CLAYTON, MO 63105

       COURT SEAL OF                       You are summoned to appe ar be fore this court and to file your pleading to the pe tition, a copy of
                                     which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                     above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                     file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                          SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                    notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                    or through Re lay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY              proceeding.
                                       25-MAR-2021                                              ______________________________________________
                                         Date                                                                        Clerk
                                      Further Information:
                                      AW
                                                           Sheriff’s or Server’s Return
     Note to se rving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent wit h
           _____________________________________________a person of the Defendant’s/Respondent’s family over t he age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                     _____________________________________________
                    Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                   Must be sworn before a notary public if not served by an authorized officer:
                                   Subscribed and sworn to before me on _____________________________________ (date).
           (Seal)
                                   My commission expires: __________________________               _____________________________________________
                                                                           Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-2680         1     (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-00480-HEA Doc. #: 1-1 Filed: 04/26/21 Page: 12 of 17 PageID #: 15
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                    (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on a ll classes o f
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-2680     2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                     54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.
    (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-2680   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

   A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105.                  The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-2680   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                           For more information call: 314-615-8029
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